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                          IN THE LINITED STATES DISTRICT COURT rnmo smres otsTBlcT couHT
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                             FOR THE DISTRICT OF NEW MEXICO            tSV -,6 m20,
UNITED STATES OF AMERICA,                                                          IJ|ITCHELLR. ELFERS
                                                                                          CLERK
         Plaintiff,                                         Case No. CR l:20-01326-001 JB

         vs,

ISAAC LAMAR BROWNRIDGE,

         Defendant.



                           ORDER TO CONTINUE TRIAL SETTING

         This matter is before the Court on Defendant's Unopposed Motion to Continue. There

being good cause shown by the Defendant and there being no objection by the government, the

Court finds the motion is well taken and should be granted.

         IT IS HEREBY ORDERED that the jury trial in this matter currently scheduled for

November g,2O2O is continued and wilt be rescheduled           for Fcf ro-.y 7
         Additionally, the Court finds that   a continuance is necessary to   provide the defense

additional time to review discovery, pursue an investigation, and otherwise prepare for trial.        A
continuance will also permit the parties time to pursue plea negotiations, If a resolution is not

reached, then additional time   will   be necessary to prepare pretrial motions, motions in limine and

prepare for trial.

         The court finds that the ends ofjustice will be served by granting this extension of time in

which to file motions and a continuance of the     trial.   See United States v. Hernandez-Mejia,406

Fed.   App'x. 330, 338 (1Oft Cir, 201l) ('The Speedy Trial Act was intended not only to protect

the interests of defendants, but was also 'designed with the public interest     firmly in mind."')
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(quoting United States v. Toombs, 574 F.3d 1262, 1273 (10tr Cir. 2009). Additional time will

allow Mr. Brownridge to further conduct an investigation into the charges in this case, to prepare

and file pretrial motions, and to adequately prepare for trial. Additionally, a continuance   will
provide the parties time to discuss a possible negotiated resolution of this matter. Such a

negotiated resolution would conservejudicial and prosecutorial resources and could also

materially benefit Mr. Brownridge by providing him access to a more favorable resolution of this

matter. This motion is not predicated upon the congestion of the Court's docket. See United

states v. Hernandez-Mejia,406 Fed. App'x. 330, 338 (10tr      cir. 201l) ("The speedy Trial Act

was intended not only to protect the interests of defendants, but was also 'designed with the

public interest in mind."') (quoting United States v. Toombs, 574 F.3d 1262, lZ73 (10u Cir.

2009).


                                                             ORABLE            O. BROWNING
                                                              States         Judge
Prepared and submitted by:
Aric G. Elsenheimer
Assistant Federal Public Defender

 After weighing the best interests of the public and of the Defendant with the ends of
 justice, the Court finds that granting a continuance willstrike a proper balance between
 the ends of justice and the best interests of the public and of the Defendant for the
 reasons stated in the motion requesting a continuance, filed November 3, 2019 (Doc.
 23).    Specifically, the Defendant's need         to continue plea negotiations, if none is
 reached, time to prepare for trial, and file pretrial motions, outweighs the Defendant's
 and the public's interest in a speedy        trial. see 18 u.s.c. g 3161(hX7). The pretrial
 motion deadline     is   lFqe,rl.y   l,   2ot1          .   The Court will set the trial for
     p"[.,r.ry 8, \ot.1 cl       3:cr6     o.,,*.                                This lO-a"y
 continuance is sufficient, without being greater than necessary, for the
 complete the tasks set forth in the motion to continue.
